                                        IN THE
                             UNITED STATES DISTRICT COURT
                                       FOR THE
                             WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION

 UNITED STATES OF AMERICA                    )
                                             )
        v.                                   )       Criminal No. 4:18CR00011
                                             )
 MARCUS JAY DAVIS, et al.                    )


                    NOTICE OF DEATH PENALTY DETERMINATION

        Comes now the United States of America, by its undersigned counsel, and advises that the

 Attorney General of the United States has authorized and directed the United States Attorney for

 the Western District of Virginia NOT to seek the death penalty against Marcus Davis, Kevin Trent,

 Jr., Kanas Trent, Deshaun Trent, Phillips Miles, Shabba Chandler and Mathew Ferguson.



 DATED: November 1, 2018                     Respectfully submitted,

                                             THOMAS T. CULLEN
                                             United States Attorney

                                             s/Ronald M. Huber
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                                      CERTIFICATE

        I hereby certify that a true and correct copy of the foregoing Notice of Death Penalty

 Determination has been electronically filed with the Clerk by CM/ECF system which will send

 notification of such filing to all counsel of record, on this 1st day of November, 2018.


                                                      s/Ronald M. Huber
                                                      Assistant United States Attorney




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